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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION




DIXIE C.,                                  )
                                           )
            Plaintiff,                     )
                                           )
VS.                                        )            CIVIL ACTION NO.
                                           )
KILOLO KIJAKAZI, Acting                    )            3:21-CV-0764-G-BN
Commissioner of the Social Security        )
Administration,                            )
                                           )
            Defendant.                     )




       ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND
  RECOMMENDATION OF THE UNITED STATES MAGISTRATE JUDGE

      After making an independent review of the pleadings, files and records in this

case, and the Findings, Conclusions, and Recommendation of the United States

Magistrate Judge dated September 20, 2021, the court finds that the Findings,

Conclusions, and Recommendation of the Magistrate Judge are correct and they are

accepted as the Findings, Conclusions, and Recommendation of the court.

      It is therefore ORDERED that the Findings, Conclusions, and

Recommendation of the United States Magistrate Judge are accepted. The
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Commissioner’s* Motion Pursuant to Fed. R. Civ. P. 12(b)(1) to Dismiss Plaintiff’s

Complaint in Part and Motion for an Extension of Time Within Which to Answer

and File the Certified Administrative Record (docket entry 9) is DENIED, and the

Commissioner must file her Answer and the Administrative Record within 21 days of

the date of this order.

       SO ORDERED.

October 15, 2021.

                                        ___________________________________
                                        A. JOE FISH
                                        Senior United States District Judge




       *
             Kilolo Kijakazi is now the Acting Commissioner of Social Security and
is automatically substituted as a party pursuant to FED. R. CIV. P. 25(d); see also 42
U.S.C. § 405(g) (action survives regardless of any change in person occupying the
office of Commissioner of Social Security).


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